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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION



UNITED STATES OF AMERICA,

v.                                                   CASE NO. 4:97cr36-RH/WCS

SANDRA LURRY,

             Defendant.

____________________________________/


             ORDER REQUIRING RESPONSE TO MOTION
         FOR EARLY TERMINATION OF SUPERVISED RELEASE


       The government shall file by May 31, 2005, a response to defendant Sandra

Lurry’s motion for early termination of supervised release. If known, the response

shall include a statement of the position of the assigned probation officer—that is,

whether the officer supports, opposes, or takes no position on the motion. Ms.

Lurry may file a reply in support of the motion within 21 days after service of the

government’s response.

       SO ORDERED this 9th day of May, 2005.

                                              s/Robert L. Hinkle
                                              Chief United States District Judge
